          Case 1:07-cr-00243-LJO Document 141 Filed 05/28/10 Page 1 of 1


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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   THE UNITED STATES OF AMERICA,                   )        CASE NUMBER: 1:07-CR-00243-OWW
                                                     )
11                          Plaintiff,               )        ORDER RE: TRANSPORTATION OF
                                                     )        DEFENDANT LEM PHIN TO FRESNO
12   v.                                              )        FOR HEARING ON COMPETENCY
                                                     )
13   LEM PHIN,                                       )        Date: Monday, June 21, 2010
                                                     )        Time: 1:30 p.m.
14                          Defendant.               )        Court: Honorable Oliver W. Wanger
                                                     )
15                                                   )
16   IT IS HEREBY ORDERED that:
17          This matter shall be set for a Hearing On Competency June 21, 2010 at 1:30PM in Courtroom
18   3 before Judge Wanger.
19          On or before June 20, 2010 the United States Marshal’s Service shall transport defendant LEM
20   PHIN from his current place of detention at the Metropolitan Detention Center in Los Angeles
21   California to be confined in the Fresno County detention Center until further Order of the Federal
22   District Court for the Eastern District of California, Fresno Division.
23   IT IS SO ORDERED.
24   Dated: May 28, 2010                               /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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